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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

LEAGUE OF UNITED LATIN                          §
AMERICAN CITIZENS, et al.,                      §
                                                §
               Plaintiffs,                      §
                                                §
EDDIE BERNICE JOHNSON, et al.,                  §       EP-21-CV-00259-DCG-JES-JVB
                                                                [Lead Case]
                                                §
               Plaintiff-Intervenors,           §
                                                                         &
v.                                              §
                                                §             All Consolidated Cases
GREG ABBOTT, in his official capacity as        §
Governor of the State of Texas, et al.,         §
                                                §
               Defendants.                      §

        ORDER REGARDING MOTIONS TO QUASH DEPOSITION SUBPOENAS

        Two of the Plaintiffs in these consolidated cases—the United States and the Mexican

American Legislative Caucus (“MALC”)—have issued deposition subpoenas to Dade Phelan,

the Speaker of the Texas House of Representatives. ECF No. 341-1. MALC has also issued

deposition subpoenas to Margo Cardwell (General Counsel to the Texas House of

Representatives) and Sharon Carter (Parliamentarian of the Texas House of Representatives).

ECF Nos. 341-2 & 341-3.

        Speaker Phelan, General Counsel Cardwell, and Parliamentarian Carter (collectively, the

“Movants”) move to quash or modify these subpoenas—or, in the alternative, for a protective

order relieving the Movants from answering any questions that elicit legislatively-privileged

testimony. Mot., ECF No. 341. The Court administratively stayed the challenged depositions to

give the Court time to consider the parties’ arguments. ECF No. 381. The Court now rules on

the Motion as follows.



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                                    I.      SPEAKER PHELAN

A.      The Morgan Doctrine

        1.      Applicable Standard

        Speaker Phelan primarily bases his request to quash the deposition subpoena on a legal

principle called the “Morgan doctrine.”1 Mot. at 5–15.2 The Morgan doctrine specifies that a

party may not involuntarily depose “a high-ranking government official” absent “exceptional

circumstances.” E.g., Freedom from Religion Found., Inc. v. Abbott, No. A-16-CA-00233-SS,

2017 WL 4582804, at *10 (W.D. Tex. Oct. 13, 2017) (“FFRF”) (quoting In re FDIC, 58 F.3d

1055, 1060 (5th Cir. 1995)). To determine whether such exceptional circumstances exist, courts

in this Circuit consider:

        (1)     The deponents’ high-ranking status;

        (2)     The potential burden the depositions would impose on the deponents; and

        (3)     The substantive reasons for taking the depositions.

In re Bryant, 745 F. App’x 215, 220 (5th Cir. 2018). Judges in this district “generally only

consider subjecting a high ranking government official to a deposition if the official has first-

hand knowledge related to the claims being litigated and other persons cannot provide the

necessary information.” FFRF, 2017 WL 4582804, at *11.




        1
          See, e.g., United States v. Morgan, 313 U.S. 409 (1941) (the doctrine’s namesake); Blankenship
v. Fox News Network, LLC, No. 2:19-cv-00236, 2020 WL 7234270, at *6 (S.D. W. Va. Dec. 8, 2020)
(using the phrase “Morgan doctrine”). Some courts call this principle the “apex doctrine.” See, e.g.,
FDIC v. Galan-Alvarez, No. 1:15-mc-00752, 2015 WL 5602342, at *3 (D.D.C. Sept. 4, 2015).
        2
       References to page numbers in this Order refer to the page numbers assigned by the Court’s
CM/ECF system, rather than to the cited document’s internal pagination.

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        The United States3 does not contest that Speaker Phelan qualifies as “high-ranking” for

the purposes of the Morgan doctrine. See U.S. Resp., ECF No. 358, at 1–9. Cf. Moriah v. Bank

of China Ltd., 72 F. Supp. 3d 437, 438, 440 (S.D.N.Y. 2014) (holding that the former Majority

Leader of the U.S. House of Representatives was a “high-ranking government official”). The

United States thus bears the burden to prove exceptional circumstances justifying Speaker

Phelan’s deposition. FFRF, 2017 WL 4582804, at *11 (“Once the court has determined the

government official qualifies as ‘high-ranking,’ the burden shifts to the party seeking to depose

the high-ranking official to demonstrate extraordinary circumstances.”).

        2.      The Morgan Doctrine Applies to High-Ranking Legislative Officials

        The United States effectively concedes that it cannot presently meet that burden. See

U.S. Resp. at 8 (“At this time, the United States lacks access to documents concerning the

Speaker’s involvement in redistricting . . . .”); id. (claiming that “further discovery” is necessary

“to determine whether information concerning the Speaker’s role in redistricting is unobtainable

from other sources”). The United States thus attempts to entirely avoid its burden to satisfy

Morgan’s prerequisites by arguing that Morgan’s analytical framework only applies to executive

branch officials, not legislative officials like the Speaker. Id. at 4–7 (“[T]he Morgan doctrine

does not apply to legislators . . . .”).

        We disagree. Numerous courts have applied the Morgan framework to deposition

subpoenas targeted at legislative officials. See, e.g., Blankenship, 2020 WL 7234270, at *6–8

(applying Morgan doctrine to prohibit depositions of U.S. Senators); Moriah, 72 F. Supp. 3d at

438–41 (applying doctrine to quash subpoena against former U.S. House Majority Leader);

McNamee v. Massachusetts, No. 12-40050, 2012 WL 1665873, at *1–2 (D. Mass. May 10, 2012)


        3
         MALC adopts by reference the United States’ arguments against quashing Speaker Phelan’s
deposition subpoena. See MALC Resp., ECF No. 360, at 10.

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(applying doctrine to quash subpoenas against U.S. Representative and his former Chief of

Staff); Feldman v. Bd. of Educ., No. 09-cv-01049, 2010 WL 383154, at *1–2 (D. Colo. Jan. 28,

2010) (applying doctrine to prevent deposition of U.S. Senator). The United States has not

directed the Court to any cases reaching the contrary conclusion; nor has the Court’s independent

research uncovered any such authority. See U.S. Resp. at 4–7.

       Instead, the United States attacks the decisions applying the Morgan framework to

legislative entities as “erroneous[]” and urges the Court to disregard them. Id. at 6–7. We are

reluctant to break with the overwhelming weight of persuasive authority. In any event, these

authorities are sound. As the Fifth Circuit has explained, the Morgan doctrine is based on the

premise that “[h]igh ranking government officials have greater duties and time constraints than

other witnesses.” FDIC, 58 F.3d at 1060 (quoting In re United States, 985 F.2d 510, 512 (11th

Cir. 1993)). If courts did not require litigants to demonstrate exceptional circumstances before

deposing a high-level government official, “‘such officials would spend an inordinate amount of

time tending to pending litigation’ to the impairment of their official responsibilities.”

Blankenship, 2020 WL 7234270, at *6 (S.D. W. Va. Dec. 8, 2020) (quoting Lederman v. N.Y.C.

Dep’t of Parks & Recreation, 731 F.3d 199, 203 (2d Cir. 2013)). See also, e.g., Bryant, 745 F.

App’x at 220–21 (opining that protecting high-ranking officials “from undue burdens regarding

. . . frequent litigation” is “why the ‘exceptional circumstances’ analysis exists in the first

place”). High-ranking legislative officials—no less than executive officials—have formidable

demands on their time, and forcing them to appear at depositions against their will would distract

them from their critical governmental duties. We therefore reject the United States’ assertion

that “[t]he logic behind the Morgan doctrine necessarily limits its scope to intrusions on

executive branch decision-making.” Contra U.S. Resp. at 5.



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       The United States suggests that the concerns animating the Morgan doctrine have less

force in the legislative context because “other protections bar unwarranted probing into

legislative . . . acts, including the Speech and Debate Clause” and “State legislative privilege.”

Id. at 6. But the Morgan doctrine is not merely about preventing “unwarranted probing” into

official acts; it also aims to relieve high-ranking government officials from responsibilities—like

attending and preparing for depositions—that could distract them from their official duties. See,

e.g., Jackson Mun. Airport Auth. v. Reeves, No. 3:16-CV-246, 2020 WL 5648329, at *3 (S.D.

Miss. Sept. 22, 2020) (“Courts are supposed to insulate high-ranking government officials ‘from

the constant distraction of testifying in lawsuits’ in part because we need the government to

function.”) (quoting United States, 985 F.2d at 512); Blankenship, 2020 WL 7234270, at *6

(“The [Morgan] doctrine applies to testimony sought from Members of Congress in connection

with matters both related and unrelated to their official duties.”) (emphasis added). As

discussed above, that distraction concern applies to high-ranking legislative and executive

officials alike. In any event, the weight of persuasive authority applies the Morgan doctrine to

legislative and executive officials equally, without indicating that legislative privileges or

immunities bear on Morgan’s applicability. See Moriah, 72 F. Supp. 3d at 440 n.16 (“Because I

find that the deposition [against the former U.S. House Majority Leader] may be quashed under

the exceptional circumstances doctrine, I need not determine whether the Speech or Debate

Clause also bars his testimony.”); Blankenship, 2020 WL 7234270, at *6–8; McNamee, 2012

WL 1665873, at *1–2; Feldman, 2010 WL 383154, at *1–2.

       The United States also argues that the Fifth Circuit’s unpublished opinion in In re Bryant

indicates that the Morgan doctrine does not apply to high-ranking legislative officials. U.S.

Resp. at 5. In Bryant, one of the plaintiffs moved to compel the Mississippi Governor’s Chief of



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Staff to appear for a deposition. 745 F. App’x at 218. The magistrate judge allowed the

deposition to go forward with certain limitations not relevant here. Id. at 218–19. In so doing,

the magistrate judge rejected the Governor’s argument that the Morgan doctrine barred the

deposition. Id. at 218.

       The Governor asked the Fifth Circuit to issue a writ of mandamus blocking the

deposition. Id. at 219. The Fifth Circuit denied the writ, but directed the magistrate judge to

evaluate several considerations before allowing the deposition to proceed. Id. at 220–22 (“There

are several important aspects of [the Morgan] analysis that the magistrate judge failed to fully

consider.”). As relevant here, the Fifth Circuit stated that “the magistrate judge should explicitly

consider” whether certain legislators could serve as “alternative sources” for the information the

plaintiff sought, thereby obviating the need to depose the Chief of Staff. Id. at 221–22.

       The United States suggests that if the Morgan doctrine applied to legislative and

executive officials alike, the Bryant court would not have directed the magistrate judge to

consider whether the legislators were “alternate sources,” since Morgan would have constrained

the plaintiff from deposing the legislators too. U.S. Resp. at 5. Recall, however, that Morgan

does not categorically bar litigants from deposing high-ranking government officials; it merely

requires the litigant to show “exceptional circumstances” before doing so. See, e.g., FFRF, 2017

WL 4582804, at *11 (determining that litigant “carried its burden of demonstrating exceptional

circumstances . . . meriting the opportunity to depose” the Governor of Texas). The fact that the

Fifth Circuit directed the magistrate judge to consider whether the legislators in Bryant could

serve as “alternate sources” for the desired information does not imply that high-ranking

legislators are always subject to depositions as the United States seems to suggest; it just means

that courts need to evaluate the factual circumstances before allowing such depositions to



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proceed. (Indeed, when the Magistrate Judge ultimately assessed whether the plaintiff could

depose the legislators in Bryant, it answered that question “maybe, maybe not.” Jackson Mun.

Airport Auth. v. Bryant, No. 3:16-cv-00246, ECF No. 392, at 3–5 (Oct. 10, 2019)). Thus, Bryant

is perfectly consistent with the conclusion we reach today: When a litigant seeks to depose a

high-ranking legislative official, the court must examine the facts to determine whether

“exceptional circumstances” justify that deposition.

        3.     The United States’ Request to Hold the Motion in Abeyance

        The United States maintains that if “this Court determine[s] that the Morgan Doctrine

does apply to the Speaker,” the Court should hold the Speaker’s Motion to Quash “in abeyance

for further development of the factual record.” U.S. Resp. at 8. The United States explains that

it intends to depose two of the Speaker’s aides on July 6 and 7, and that those depositions may

render Speaker Phelan’s deposition unnecessary—or, alternatively, uncover evidence of

exceptional circumstances that justify deposing the Speaker. Id. The United States has also filed

a pending motion enforce certain third-party subpoenas duces tecum. ECF No. 351. The United

States predicts that, if the Court ultimately grants that motion, the documents the United States

obtains may obviate or magnify the need to depose the Speaker. See U.S. Resp. at 8. The United

States thus offers to submit a filing by July 15, 2022 that either (1) explains how any new

evidence it obtains between now and then satisfies Morgan’s exceptional circumstances

requirement or (2) announces that the United States no longer seeks to depose the Speaker. Id. at

9.

        The Speaker does not object to holding his Motion to Quash in abeyance subject to the

condition that, “if the Speaker is ultimately ordered to be deposed for some length of time, the

subpoena should be modified so that the Speaker’s deposition would not occur until a week has



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passed from any such Court order, or later, thereby giving the Speaker an appropriate amount of

time to adjust his schedule and prepare.” Reply, ECF No. 378, at 6.

       The Court finds both the United States’ request to hold the motion in abeyance and the

Speaker’s proposed condition reasonable. The Court thus HOLDS the Motion IN ABEYANCE

as to Speaker Phelan. The Court further ORDERS the United States to file one of the following

two documents by July 15, 2022:

       (1)     A notice that the Plaintiffs no longer seek to depose Speaker Phelan; or

       (2)     A supplemental response to Speaker Phelan’s Motion to Quash setting
               forth the circumstances that, in the United States’ view, are sufficiently
               exceptional to justify deposing the Speaker.

       If the United States chooses Option (2), Speaker Phelan will have seven days from the

date the United States files its supplemental response to file a supplemental reply. If the Court

ultimately orders Speaker Phelan to appear for a deposition, that deposition may not occur fewer

than seven days after the Court issues its order.

                         II.     GENERAL COUNSEL CARDWELL

       Counsel have met and conferred regarding the deposition subpoena against General

Counsel Cardwell. Reply at 7. The parties have agreed to hold the Motion to Quash in abeyance

as to General Counsel Cardwell while the parties conduct further discovery. Id. The parties

have further agreed to “supplement the motion with relevant deposition testimony about the

nature of Ms. Cardwell’s role no later than July 11.” Id.

       The Court will honor the parties’ agreement and HOLD the Motion IN ABEYANCE as

to General Counsel Cardwell. The Court ORDERS MALC to file one of the following two

documents by July 11, 2022:




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       (1)     A notice that MALC no longer seeks to depose General Counsel Cardwell;
               or

       (2)     A supplemental response to General Counsel Cardwell’s Motion to Quash
               explaining why MALC believes the new discovery materials further
               support deposing the General Counsel.

The Court ALLOWS General Counsel Cardwell to file a supplemental reply by July 11, 2022

arguing that the new discovery materials do not support deposing the General Counsel. If

MALC ultimately decides that General Counsel Cardwell’s deposition is unnecessary, the Court

ORDERS MALC to give General Counsel Cardwell sufficient notice of MALC’s decision so

that General Counsel Cardwell need not waste effort drafting an unnecessary supplemental reply.

                           III.    PARLIAMENTARIAN CARTER

       MALC seeks to depose the Parliamentarian of the Texas House of Representatives to

determine whether the legislature “depart[ed] from ordinary legislative procedures” when

creating the redistricting plans at issue here—and, if so, whether Texas legislators specifically

instructed the Parliamentarian to deviate from those procedures. MALC Resp. at 9–10.

       Parliamentarian Carter argues that requiring her to sit for a deposition would be unduly

burdensome because information about the House’s procedures and whether the Legislature

departed from them is already available in the public record. Mot. at 21; Reply at 9.

Parliamentarian Carter further maintains that she cannot answer questions about her

conversations with legislators without divulging privileged and highly confidential information.

Mot. at 21–24; Reply at 10–11.

       As was true when three Members of the Texas Legislature asked us to quash certain

deposition subpoenas on state legislative privilege grounds, see ECF Nos. 259 & 279, the Court

is poorly positioned to assess the parties’ respective arguments about the Parliamentarian’s

proposed deposition because the Court has no deposition questions in front of it. League of

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United Latin Am. Citizens v. Abbott, No. 21-CV-259, 2022 WL 1570858, at *1 (W.D. Tex. May

18, 2022) (“LULAC”). As this Court previously explained, the state legislative privilege is ”fact-

and context-specific” and “depends on the [deposition] question being posed.” Id. Thus, the

Court is unable to conclude categorically that every conceivable question that MALC could ask

the Parliamentarian would either elicit nothing but privileged material or merely restate the

public record, as the Parliamentarian maintains. Contra Reply at 23–24.

        Thus, as it did when it denied the Legislators’ motions to quash, the Court DENIES the

Parliamentarian’s Motion and allows MALC to depose the Parliamentarian. The Court

ORDERS the parties to comply with the following procedures:

        (1)     The parties shall proceed with the deposition of Parliamentarian Carter.
                Parliamentarian Carter must appear and testify even if it appears likely that she
                will invoke legislative privilege in response to certain questions.

        (2)     Parliamentarian Carter may invoke legislative privilege in response to particular
                questions, but she must then answer the question in full.4 Her response will be
                subject to the privilege.

        (3)     The portions of deposition transcripts containing questions and answers subject to
                the privilege shall be deemed to contain confidential information and shall
                therefore be subject to the “Consent Confidentiality and Protective Order” at ECF
                No. 202.

        (4)     If a party wishes to use any portion of deposition testimony that is subject to
                legislative privilege, that party must seal those portions and submit them to the
                Court for in camera review, along with a motion to compel.5

        (5)     Any such motion to compel shall be filed by August 1, 2022. Though the Court
                sets this deadline, it encourages the parties to file earlier, if at all possible.


        4
           The Court thus REJECTS the Movants’ request for “a protective order . . . which would permit
legislative privilege objections that, once raised, relieve the deponent from answering particular questions
eliciting that objection.” See Mot. at 5. The Court will apply the same procedures to the House
Parliamentarian as it has applied to the Legislator deponents.
        5
          The party shall file a motion to compel for the purpose of asserting why information to which
Parliamentarian Carter has raised a privilege objection should be disclosed because it is not subject to the
privilege, the privilege has been waived, or the privilege should not be enforced.

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See LULAC, 2022 WL 1570858, at *2–3.

       In adopting this approach, the Court warns the parties that any public disclosure of

information to which a privilege has been asserted may result in sanctions, including the

striking of pleadings. The Court ORDERS all counsel to spare no effort to ensure that no

individual—whether he or she be counsel, a court reporter, a videographer, or any other

person hearing or having access to information subject to privilege—disseminates

information subject to privilege to any person not permitted to handle that information or

in any manner (e.g., disclosure to media, posting on social media).

       The parties should not construe anything in this Order as deciding any issue of state

legislative privilege. The Court will be better positioned to make decisions regarding state

legislative privilege if the issue comes more squarely before the Court—that is, if the parties

present the Court with specific questions and specific invocations of state legislative privilege.

       Finally, MALC originally scheduled Parliamentarian Carter’s deposition for June 30,

2022. ECF No. 341-3. The Court administratively stayed the Parliamentarian deposition while

it considered the parties’ arguments and drafted this Order. ECF No. 381. June 30, 2022 has

now passed. Therefore, the Court ORDERS the parties to agree on a mutually convenient date

for Parliamentarian Carter’s deposition. To give Parliamentarian Carter and the parties time to

prepare for the deposition, the deposition SHALL NOT occur fewer than seven days after the

Court issues this Order.

                                     IV.     CONCLUSION

       The Court DENIES the “Motion by Texas House Speaker Dade Phelan, General Counsel

to the House Margo Cardwell, and House Parliamentarian Sharon Carter to Quash Deposition

Subpoenas and, Alternatively, Motion for Protective Order” (ECF No. 341) IN PART. MALC



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MAY DEPOSE House Parliamentarian Sharon Carter in accordance with the procedures

outlined in Section III of this Order.

       The Court HOLDS the remainder of the Motion IN ABEYANCE as to the deposition

subpoenas against Texas House Speaker Dade Phelan and General Counsel to the House Margo

Cardwell. The parties shall COMPLY with the requirements set forth in Sections I and II of

this Order.

       The Court directs the Clerk to keep the Motion PENDING ON THE DOCKET to that

limited extent.

       The Court MODIFIES its “Order Granting Administrative Stay of Subpoenas” (ECF No.

381) to the extent it is inconsistent with this Order. In all other respects, the Administrative Stay

Order REMAINS IN EFFECT.

       So ORDERED and SIGNED this 6th day of July 2022.



                                                   ____________________________________
                                                   DAVID C. GUADERRAMA
                                                   UNITED STATES DISTRICT JUDGE

                                         And on behalf of:

 Jerry E. Smith                                               Jeffrey V. Brown
 United States Circuit Judge                     -and-        United States District Judge
 U.S. Court of Appeals, Fifth Circuit                         Southern District of Texas




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